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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11     EDGAR GUTIERREZ,                 )   Case No. EDCV 19-1339-VBF (JPR)
                                        )
12                        Petitioner,   )
                                        )   ORDER ACCEPTING FINDINGS AND
13                  v.                  )   RECOMMENDATIONS OF U.S.
                                        )   MAGISTRATE JUDGE
14     RON GODWIN, Warden,              )
                                        )
15                        Respondent.   )
                                        )
16
17          The Court has reviewed the Petition, records on file, and

18     Report and Recommendation of U.S. Magistrate Judge.           No

19     objections to the R. & R. have been filed.

20          The Court accepts the findings and recommendations of the

21     Magistrate Judge.     IT THEREFORE IS ORDERED that the Petition is

22     denied and Judgment be entered dismissing this action with

23     prejudice.

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25     DATED:
                                            VALERIE BAKER FAIRBANK
26                                          U.S. DISTRICT JUDGE

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